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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA


VS.                                                              CRIMINAL NO. 1:04cr5-3WJG
                                                             CIVIL ACTION NO. 1:05cv310WJG

LATORIA NACOLE GRACE


                           MEMORANDUM OPINION AND ORDER


       This cause is before the Court on Latoria Nacole Grace's motion to vacate, set-aside or

correct sentence [47-1] pursuant to 28 U.S.C. § 2255. After due consideration of the arguments,

evidence of record, applicable law, and being otherwise advised in the premises, the Court finds

as follows:

       On or about April 5, 2004, Grace pleaded guilty to one count of possession with intent to

distribute at least 5 grams but less than 50 grams of cocaine base in violation of 21 U.S.C. §

841(a)(1). As part of her negotiated plea agreement, Grace waived her right to appeal the

conviction/sentence or the manner in which it was imposed. In addition, she waived her right to

contest the conviction/sentence in a post conviction proceeding or by section 2255 motion. On

July 28, 2004, the Court sentenced Grace to 70 months imprisonment, 60 months supervised

release and a $100.00 special assessment. On August 2, 2004, the Court entered its Judgment of

conviction. Grace did not file an appeal, but on June 23, 2005, Grace filed the instant motion,

seeking resentencing based on United States v. Booker,125 S. Ct. 738 (2005), and Blakely v.

Washington, 124 S. Ct. 2531 (2004).
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       As noted above, Grace entered a negotiated plea of guilty pursuant to a plea agreement

which contained an unambiguous waiver of her right to appeal the conviction/sentence or contest

the conviction/sentence in any post-conviction proceeding. (Ct. R., Doc. 29, ¶ 15.) A defendant

may, as part of a plea agreement, waive the right to appeal, U.S. v. Cuevas-Andrade, 232 F.3d

440, 446 (5th Cir.2000) (citing United States v. Melancon, 972 F.2d 566 (5th Cir.1992)), and the

right to seek post-conviction relief. United States v. Wilkes, 20 F.3d 651, 653-54 (5th Cir.1994).

The record clearly indicates that Grace understood and voluntarily entered into the plea

agreement, and Grace does not argue the contrary.

       Even discounting the waiver, the Fifth Circuit has expressly addressed whether Booker

and Blakely are retroactively applicable on collateral review:

       [I]t is clear that Booker has not been made retroactive to cases on collateral review
       by the Supreme Court. The Supreme Court did not so hold in Booker, nor has the
       Court done so in any case since Booker. The same is true with respect to Apprendi
       and Blakely. In fact, in Booker, the Court expressly held that both the Sixth
       Amendment holding and its remedial interpretation apply "to all cases on direct
       review." 125 S.Ct. at 769 (emphasis added). The Court could have, but did not,
       make any reference to cases on collateral review.

       In addition, the Supreme Court has not rendered any decision or combination of
       decisions that, while not expressly making the rule of Apprendi, Blakely and Booker
       retroactive, "necessarily dictate[s] retroactivity" of that rule. Tyler, 533 U.S. at 666,
       121 S.Ct. 2478. To the contrary, the Supreme Court has strongly suggested that
       Apprendi and, by logical extension, Blakely and Booker do not apply retroactively on
       collateral review. See Schriro v. Summerlin, 542 U.S. 348, 124 S.Ct. 2519, 2526,
       159 L.Ed.2d 442 (2004) (holding that Ring v. Arizona, 536 U.S. 584, 122 S.Ct. 2428,
       153 L.Ed.2d 556 (2002), which extended application of Apprendi to facts increasing
       a defendant's sentence from life imprisonment to death, does not apply retroactively
       to cases on collateral review).

In re Elwood, 408 F.3d 211, 213 (5th Cir. 2005); see U.S. v. Gentry, 432 F.3d 600, 605 (5th Cir.

2005) (holding that Booker does not apply retroactively to initial section 2255 motions). Simply

put, Booker and Blakely are not retroactively applicable on collateral review. Consequently, the

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Court finds that Grace's motion to vacate pursuant to 28 U.S.C. § 2255 should be denied. It is

therefore,

        ORDERED AND ADJUDGED that Grace's motion to vacate [47-1] be, and is hereby,

denied. It is further,

        ORDERED AND ADJUDGED that the above styled action be, and is hereby, dismissed

with prejudice.

        SO ORDERED AND ADJUDGED this the 1st day of March, A.D., 2006.




                                              UNITED STATES SENIOR DISTRICT JUDGE




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